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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                        00 Cr. 100 (PAE)
                        -v-
                                                                             ORDER
 ARON OLEG BRONSTEIN,


                                       Defendant.



PAUL A. ENGELMAYER, District Judge:

       On December 1, 2020, the Court received a letter from Joseph Paukman, purporting to

represent the estate of victim Kenneth Thompson in this case. Dkt. 118. That letter alleged that

defendant Aron Oleg Bronstein had failed to pay monthly restitution payments, as previously

ordered by the Court, see Dkt. 102, since January 2020. On December 3, 2020, Bronstein filed a

letter representing that he had made all required payments through at least October 2020, and

attached evidence both of his payments and the Government’s receipt and acknowledgment of

those payments. Dkt. 120. On December 8, 2020, the Government confirmed that Bronstein had

consistently met his restitution amounts through November 19, 2020. Dkt. 121. The next day,

Paukman responded that the Clerk of Court has informed him that it had not received any money

to be distributed, and accused Bronstein and his alleged affiliates of perpetrating various vaguely

described wrongs against him. Dkt. 122 (alleging forgeries by Bronstein in state court and other

misdeeds). On January 7, 2021, the Government responded, confirming again that Bronstein had

met his restitution obligations and arguing that none of Paukman’s other allegations are properly

before the Court. Dkts. 124 (“Gov’t Ltr.”), 124-1 (payment history).
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       Clear evidence shows that Bronstein has consistently met his restitution obligations each

month, including most recently with an $800 payment on December 29, 2020. See Dkt. 124-1.

Paukman has not offered a factual basis to contend otherwise, and the Court is aware of none.

The Court thus does not have occasion to take action with respect to Bronstein’s payment

obligations.

       Nor is action warranted as to Paukman’s other allegations. For the reasons set forth in

the Government’s submission, federal law does not provide Paukman, or the estate he claims to

represent, any right to pursue, through this criminal action, the other wrongs in which Bronstein

allegedly engaged. See Gov’t Ltr. at 2–4. Nor does it allow Paukman to compel the Government

to do so. Id. Last, the limited evidence Paukman has submitted, purporting to show Bronstein

fraudulently drawing on his family’s accounts, does not at this time provide a basis on which to

modify the restitution schedule the Court previously imposed. See 18 U.S.C. § 3664(k)

(authorizing, but not requiring, the Court to modify restitution amounts in light of a “material

change in the defendant’s economic circumstances”).1

       Accordingly, Paukman’s pending requests are denied.

       The Clerk of Court is respectfully directed to terminate the motions pending at

dockets 111, 113, 114, 115, 117, and 118.

       SO ORDERED.




1
 In a January 9, 2021 filing, Paukman suggests that the unsealing of certain state-court divorce
proceedings might provide additional evidence of Bronstein’s financial circumstances, based on
out-of-court statements by unnamed family members of Bronstein’s. Dkt. 125. Paukman offers
no authority suggesting that the Court can or should order such relief. The Court therefore will
not do so at this time.


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                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: January 11, 2021
       New York, New York




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